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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF INDIANA
                          HAMMOND DIVISION

 UNITED STATES OF AMERICA             )
                                      )
 Plaintiff,                           )
                                      )
 vs.                                  )      CAUSE NO. 2:08-CR-50
                                      )
 ANDRES ZARAGOZA,                     )
                                      )
 Defendant.                           )

                                      ORDER

        This   matter   is   before    the    Court   on     the    Findings     and

 Recommendation of the Magistrate Judge Upon a Plea of Guilty by

 Defendant Andres Zaragoza (DE #164) filed on April 2, 2009.                       No

 objections have been filed to Magistrate Judge Rodovich’s findings

 and recommendations upon a plea of guilty.              Accordingly, the Court

 now ADOPTS those findings and recommendations, ACCEPTS the guilty

 plea of Defendant Andres Zaragoza, and FINDS the Defendant guilty

 of Count 1 of the Indictment, in violation of Title 21 U.S.C. §

 846.

        This matter is set for sentencing on July 30, 2009, at 1:15

 p.m.



 DATED:   April 24, 2009                     /s/RUDY LOZANO, Judge
                                             United States District Court
